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                                                                                          October 20, 2020

         By ECF

         Hon. Paul A. Engelmayer, U.S.D.J.
         United States District Court
         Southern District of New York
         40 Foley Square, Room 2201
         New York, New York 10007

                              Re:        Goat Fashion Limited v. 1661, Inc.
                                         Docket No. 1:19-cv-11045-PAE

         Dear Judge Engelmayer:

               This office represents plaintiff, Goat Fashion Limited (“Plaintiff”), in the
         above-referenced action. We write pursuant to Section 4(B) and 6(B) of Your Honor’s
         Individual Rules concerning redactions proposed for materials filed in connection
         with Plaintiff’s Opposition to Defendant’s Motion for Stay (filed simultaneously via
         ECF).

                Plaintiff seeks leave to file under seal the following exhibits to the Declaration
         of Thomas A. Telesca in Opposition to Defendant’s Motion for Stay (“Telesca Stay
         Opp. Decl.”) based on Defendant 1661, Inc.’s designation of same as Confidential or
         Confidential – Attorneys’ Eyes Only in their entirety pursuant to the parties’
         Stipulated Confidentiality Agreement and Protective Order, dated April 20, 2020
         (Dkt. 24).

                   1. Exhibit I (customer confusion email designated as Confidential);
                   2. Exhibit O (pages from Eddy Lu’s deposition transcript and Deposition
                      Exhibit 96 designated as Confidential – Attorneys’ Eyes Only);
                   3. Exhibit P (customer confusion email designated as Confidential);
                   4. Exhibit Q (customer confusion email designated as Confidential); and
                   5. Exhibit R (customer confusion email designated as Confidential).

               Plaintiff also seeks leave for proposed redactions in paragraphs 13, 24, 25 and
         26 of the Telesca Stay Opp. Decl. that discuss confidential information from the
         above-referenced exhibits.


RUSKIN MOSCOU FALTISCHEK
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        Plaintiff has filed the Telesca Stay Opp. Decl, bearing confidential information
  in redacted, public form on ECF. Plaintiff has also provided clean and highlighted
  versions of the proposed redactions to the Court via email (in a clean and highlighted
  version).

         Plaintiff respectfully requests that the court approve these proposed redactions
  and file and maintain the unredacted Telesca Stay Opp. Decl. and Exhibits I, O, P,
  Q, and R under seal, pursuant to Section 6(B).

        We thank Your Honor for his time and consideration of this request.

                                                       Respectfully submitted,

                                                       Ruskin Moscou Faltischeck, P.C.

                                                       By: /s/ Thomas A. Telesca
                                                           Thomas A. Telesca
                                                           Attorney for Plaintiff

  Cc:   All counsel (by ECF)


                                                SO ORDERED


                                                 
                                                __________________________
                                                HON. PAUL A. ENGELMAYER
                                                U.S. DISTRICT COURT JUDGE

                                                 October 21, 2020




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